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Debtor 1
                        Name                          Nâñe               LaEt



                                                                                                                                  E Cneck if this is an amended
Debtor 2
                                                                                                                                      plan, and list below the
(Spouse, if f¡ling) Firsr Nâme                 I\¡iddle Name             Last
                                                                                                                                      sections of the plan that have
                                                                                                                                      been changed.
Un¡ted States Bankruptcy Court for the:              I               Distr¡ct of



casenumber
(lf known)
                  J)V^ Çow 4


 Official Form 1 13
 Ghapter 13 PIan                                                                                                                                               't2t17


   tlEfiZE          Notices

 To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                         indicate that the option ls approprlatê ln your circumstances or that it is permlsslblê ln your judiclal district. Plans that
                         do not comply with local rules and Judic¡al rulings may not be confirmable.

                         In the following notice to creditors, you must check each box that applies.


 To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                         You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. lf you do not
                         have an attorney, you may wish to consult one.
                         lf you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection 1o
                         confìrmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                         Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                         Bankruplcy Rule 3015. ln additlon, you may need to file a timely proof of claim in order to be paid under any plan.
                         The following matters may be of particular imporlance. Debtors must check one box on each llne fo sfafe whether or not the plan
                         includes each of the followlng ltems. lf an item is checked as "Not lncluded" or lf böth åoxes are checked, the provision will
                         be ineffective if set out later ln the plan.


    1.1       A limit on the amount of a secured clalm, set out in Sect¡on 3.2, wh¡ch may result in a partlal                   E lncluded       E Not included
              payment or no payment at all to the secured creditor

    1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                    D lncluded        E Not ¡ncluded
              Section 3.4
    't.3      Nonstandard prov¡s¡ons, set out in Part I                                                                         E lncluded        E Not included

  EEIÍf;A           Plan Payments and Length of Plan                                                                       U.S. BA                        COURT

  2.'l Debtor(s) will make regular payments to thê trustee as followsl                                                                 l'1AR-6            24

           sooo
             a.-T---       î.(¡¡ p",f\fuø, (o 'ontn,                                                                    By
           [and $ _                   per_               for _      months.] Inse¡l add¡tional lines if needed.                         Deputy
           lf fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
           payments to creditors specifìed in this plan.



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Debtor                                                                                                     Case number            -G"                 0

2.2 Regular payments to the trustee will be made from future income in the following manner:
     Check ail that apply.
         E- Oe¡to(s) will make payments pursuant to a payroll deduction order.
         X, O"Oro(.) will make payments directly to the trustee.
         B Other (specify method of payment)
2.3 lncome tax refunds.
     Check one.
         (O"Oro4.¡ will retain any income tax refunds received during the plan term.
         D OeOtorls¡ will supply the trustee with a copy of each income tax return filed during the plan term within l4 days of filing the return and will
              turn over to the trustee all income lax refunds received during the plan term.
         E oeOto4s¡ will treat income tax refunds as follovrs:


2.4 Addit¡onalpayments.
     Check one.

         fi ruon". tf "None" is checked, fhe resf of S 2.4 need not be completed or reproduced.
          E OeOtorls¡ will make addilional paymenl(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
              and date ofeach anticipated payment.




2.5 The total amount of estimated payments to the trustee provided for in $$ 2.1 and 2.4 is $
                                                                                                               /,r P
EãTTE            Treatment of Secured GIaims

3.1 Maintenance of payments and cure of default, if any.
     Check one.
         E None. tf "None"ischecked, theresf of$ 3.1 neednotbecompletedorreproduced.
         tr   The debto(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
              the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
              directly by the debto(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
              trustee, with interest, if any, at the rate stated. Unless otheMise ordered by the court, the amounts listed on a proof of claim fìled before the
              filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the currenl inslallmenl payment and
              arrearage. ln the absence of a contrary timely fìled proof of claim, the amounts stated below are controlling. lf relief from the automatic stay
              is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
              paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
              column ¡ncludes only payments disbursed by the trustee rather than by the debto(s).



              Name of creditor                      Collateral        Current installment      Amount of         lnterest rate on Monthly plan       Est¡mated total
                                                                      payment                  arrearage (if     arrearage payment on                payments by
                                                                      (including escrow )      any)              (ifapplicable) arrearage            trustee

                PH Þr                           (Msg- $ tr+6r. s ét, h>r A ," , Óon,u -----r-----
                                                                                       t?, Ma                                                         s
                                                                       Disbursed by:
                                                                       E Trustee
                                                                       E o"uto4s¡

                                                                                                                           o/o
                                                                                                $                                                     $

                                                                       Disbursed by:
                                                                       E Trustee
                                                                       E oeoto(s)
              lnse¡t add¡t¡onal claims as needed.


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Debtor                                                c o                                                Case number



3.2 Request for valuation          security, payment of fully secured claims, and modification of unden¡ecured claims. Check one.

         flHon.. tf"None"¡schecked,fherestof$ 3.2neednotbecomptetedorreproduced.
         /\
         ' The remainder of this paragraph wilt be effective onty if the applicable box ¡n Pa,1 1 of th¡s plan is checked.
          D Tne debtorls) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
             listed below, the debto(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
             c/am. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
             claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
             the secured claim will be paid in full with interest at the rate stated below.

             The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
             plan. lf the amount of a creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety
             as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor's total claim listed on the
             proof of claim controls over any contrary amounts listed in this paragraph.

             The holder of any claim l¡sted below as having value in the column headed Arnount of secured claiø will retain the lien on the property interest
             of the debto(s) or the estate(s) until the earlier of:
             (a) payment ofthe underlying debt determined under nonbankruptcy law, or
             (b) discharge of the underlying debt under 1 1 U.S.C. S 1328, at which time the lien will terminate and be released by the creditor.
             Name of   creditor       Estimated amount      Collateral Value of           Amount  of     Amount of            lnterest Monthly         Est¡mated total
                                      of creditor's total                   collateral claims senlor to secured claim rate                   to
                                                                                                                                       payment         of monthly
                                      claim                                               creditoCs claim                              credito¡        payments


                                        $_                                   $_$_$                                               Yo $-                  $-

                                                                             $_            $_                 $_                  Yo$-$

             Inse¡I add¡t¡onal cla¡ms as needed.

3.3 Secured claims excluded from 11 U.S.C. S 506.
     Check one.

         Aton". tf "None" is checked, fhe resf of S 3.3 need not be completed or reproduced.
         E The claims listed below vr¡ere either:
            (1) incurred within 91 0 days before the petition date and secured by a purchase money security inlerest in a motor vehicle acquired for the
                 personal use of the debto(s), or

            (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
            These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
            directly by the debto(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
            filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. ln the absence of a contrary timely fìled proof of
            claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debto(s).




              Name of cred¡tor                              Collateral                    Amount of cla¡m lntérest         Monthly plan       Estimated total
                                                                                                          tate             payment            payments by trustee

                                                                                                                       o/o $-                 q

                                                                                                                            Disbursed by:
                                                                                                                            E Trustee
                                                                                                                            D oeoto4s¡
                                                                                                                                              q
                                                                                           $_                          %$_
                                                                                                                            Dìsbursed by:
                                                                                                                            E Trustee
                                                                                                                            E oeuto(s)
             lnseft add¡t¡onal claims as needed.




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Debtor                                                                                                      Case number                  Sfu ú
3.4 Lien avoidance.
    Chegk one.

     ,Aon". lf "None" is chec4ed, fhe resf of S 3.4 need not be completed or rep¡oduced.
          The remainder of this paragraph w¡il be effect¡ve only ¡f the applicable box in Part 1 of this plan is checked.

         E tnejuOiciat liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
             debto(s) would have been entitled under 11 U.S.C. $ 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
             securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
             amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
             amount, ¡f any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
             S 522(Ð and Bankruptcy Rule 4003(d). lf more than one lien rs fo be avo¡ded, provide the information separately for each lien.


              lnformation regarding judicial            Calculatlon of lien avoidance                                        Treatmênt of remaining
              lien or security interest                                                                                      secured claim
                                                                                                       q                     Amount of secured claim after
                                                     a. Amount of lien
              Name of cred¡tor
                                                                                                                             avoidance (line a minus line f)
                                                                                                                             $
                                                     b. Amount of all other liens                      $



              Collateral                             c. Value of claimed exempt¡ons                                          lnterest rate (if applicable)


                                                     d. Total of addìng lines a, b, and c               $                               Yo




                                                                                                                             Monthly payment on secured
               Lien identification (such as          e. Value ofdebto(s)'interest      in
                                                                                                                             claim
              judgment date, date of lien               property
              recording, book and page number)


                                                                                                                             Estimated total payments on
                                                     f. Subtract line e from line d.                    a
                                                                                                                             secured claim
                                                                                                                             c


                                                        Extent of exempt¡on ¡mpairment
                                                        (Check applicable box):

                                                        E Line f is equal to or greater than line a.
                                                            The entire l¡en ¡s avo¡ded. (Do not complete the next column.)

                                                        E Line f is less than line a.
                                                            A portion of the lien ¡s avoìded. (Conplete the next column.)

           lnsert additional claims as needed.




3.5 Surrender of collateral.
     chsy)ne.
                       lf "None" is checked, fhe resf of $ 3.5 need not be completed or reproduced.
         LJZ\frlone.

         E The OeUo4s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debto(s) request that
             upon confìrmation of this plan the stay under 11 U.S.C. S 362(a) be terminaled as to the collateral only and that the stay under $ 1301
             be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.


               Name of creditor                                                                        Collateral




            Inseft add¡t¡onal cla¡ms as needed.



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Debtor                        d"
                                /.
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                                                                                                                                                      1c
ÈtíúA           Treatment of Fees                      Glalms

4.1 General
     Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in $ 4.5, will be paid in full without
     postpetition interest.

4.2 Trustee's fees
     Trustee's fees are governed by statute and may change during the course of the case but are estimated to be         _%           of plan payments; and
     during the plan term, they are estimated to total   $_.

4.3 Attorney's feês
     The balance ofthe fees owed to the attorney for the debto(s) is estimated to be       $-

4.4 Priority claims other than attorney's fees and those treated in $ 4.5.
     Check one.
          E None, tf "None" is checked, f/re resf of$ 4.4 need not be completed or reproduced.
          E me debtorls) estimate the total amount of other priority cla¡ms to be

4.5 Domestic support obligations asslgned or owed to a governmental un¡t and paid less than full amount.
         Check one.
           E None. If "None"¡schecked,f/reresf of$ 4.Sneednotbecompletedorreproduced.
           D The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
              governmental unit and will be pa¡d less than the full amount of the claim under 1 1 U.S.C. S 1322(a)(4). This plan provision
              requires that payments in S 2.1 be for a tem of 60 months; see 'l 1 U.S.C. S 1322(aX4).




                Name of creditor                                                                                           Amount of claim to be paid


                                                                                                                            e




               Inserf additional cla¡ms as needed.

 I]EIïEÞ        Treatment of Nonpriority Unsecured Glaims


 5.1 Nonpriority unsecured claims not separately classified.
         Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rala. lf more than one option is checked, the option
         providing the largest payment will be effective. Check allthat apply.


           F. The sum of    , +frt,tQ
           tr               of the total amount of these claims, an estimated payment of

           E ffre funds remaining after disbursements have been made to all other creditors provided for in this plan.
              lf -Yo
                 the estate of the debto(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $_.
               Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.




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Debtor                                                                                                Case number              n
                                                                                                                                                        Yo
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
          B None. If "None" is checked, f,e resf of S 5.2 need not be completed or reproduced.
         F    The debto(s) wìll maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
              on which the last payment is due afier the final plan payment. These payments will be disbursed either by the trustee or directly by the
              debto(s), as specified below. The claim for the arrearage amount will be paid in full as specifled below and disbursed by the trustee.
              The final column includes only payments disbursed by the trustee rather than by the debto(s).


                Name of creditor                                                    Gurrent installmeñt       Anrount of arrearage            Estimated total
                                                                                    payment                   t0 be påld                      payments by
                                                                                                                                              trustee

                  Clrrilrrf Ml,                                                      $     &a. dü              , lïr(r'w                      { zoo.æ
                                                                                     Disbursed by:
                                                                                     tr Trustee
                                                                                    ú Debto(s)
                                                                                     rl5-,113                  $    A. er¡                     $
                                                                                                                                                        0f' ûc
                                                                                     D¡sbursed by:
                                                                                                                    /
                                                                                     E Trustee
                                                                                     Ef o"otor1.¡
             Inseft add¡t¡onal claims as needed.




5.3 Other separately classified nonpriority ungecured claims. Cåeck one.
     iðrNone. tf "None"ischecked,ftreresf of$ S.3neednotbecompletedorreproduced.
     f
         E The nonpriority unsecured allowed claims listed below are separately classifìed and will be treated as follows

                Name of creditor                             Basis for separate classification       Amount to be paid      lnterest rate          Estimated total
                                                             and treatment                           on the clalm           (if applicable)        amount of
                                                                                                                                                   payments

                                                                                                      $                                            $_
                                                                                                                                                   $_

               lnsert additional claims as needed.



EEr'!           Executory Contracts and Unexplred Leases


6.1 The executory contracts and unexplred leases listed below are assumed and will be treated as specified. All other executory contracts
         and unexpired leases are rejected. Check one.
         (ton". tf "None" is checked,fhe resf of g 6.1 need not be completed or reproduced.
         E Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debto(s), as specifìed below, subject
            to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
            by the trustee rather than by the debto(s).




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Debtor                                                                                                   Case number                                o
           Name of creditor                 Descrlptlon                  Current installment       Amount of      Treatment of arrearage   Estimated total
                                            property or executory        payment                   arrearage to                            payments by
                                            contrâct                                               be paid        (Refer to other plan
                                                                                                                                           trustee
                                                                                                                  section if applicable)

                                                                                                                                            a
                                                                         $                         5

                                                                         Disbursed by:
                                                                          tr Trustee
                                                                          tr Debto(s)
                                                                         q
                                                                                                                                            $
                                                                         Disbursed by:
                                                                          D Trustee
                                                                          tr Debto(s)
          Inse¡t additional contracts or /eases as needed.




EEIíJA        Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
     Check the applicable box:

    Al olan confìrmation.
    (\
     tr entry of discharge.
     tr other:

tlEliúI       Nonstandard Plan Provisions

8.1 Gheck ¡¡None' or List Nonstandard Plan Provisions
     -l
     XNone. tf "None" checked, the
                          ¡s               rest of Part   I need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set fotth below. A nonstandard provis¡on is a provision not otherwise included ìn the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ¡neffect¡ve.

The following plan provisions will be effective only if there is a check in the box "lncluded" in $ 1,3,




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Debtor                                        /                                                      casenumber    x4/
                                                                                                                     ,r ^f."ú                      D
EETÍEE         Signature(s):

9,1 s                   Debtor(s) and Debtor(s)' Attorney
lf the            do not have an aftorney, the Debtor(s) must s¡gn below; othenvise the Debtor(s) signatures are opt¡onat. The attorney for the Debtor(s), if any,
must sign


   ,c                                                                ,c
                   of                                                     Signature of Debtor 2

         Executed on    Ò                                                 Executed on
                                                                                        MM / DD /YYYY



   Jc                                                           Date
         Signature of Attorney for Debto(s)                                MM / DD /YYYY


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter l3 plan are identlcal to
those contained in Official Form I I 3, other than any nonstandard provisions included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. lf there is any difference between the amounts set
     out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Parf 3, Sect¡on 3.1 totat)                           s-AÐ-O-L z^5
b. Modified secured claims (Parf 3, Section 3.2 totat)                                                   q


c. Secured claims excluded from 1l U.S.C. S 506 (Parf 3, Section 3.3 totat)                              $            0

d. Judic¡al l¡ens or security ¡nterests partlally avolded (Part 3, Sect¡on 3.4 totat)                    q            0
e. Fees and priority claims (Pañ 4 total)                                                                q


f.   Nonpriority unsecured claims (Parf 5, Secfion 5.1, highest stated amount)                                        t,4.W
S. Maintenance and cure payments on unsecured claims (Parf 5, Section 5.2 total)                         q            û
h. Separately classified unsecured claims (Parf 5, Secfion 5.3 total)                                    $
                                                                                                                      (t
i.   Trustee payments on executory contracts and unexpired leases (Parf 6, Secfion 6.1 total)            c            t)
j.   Nonstandard payments (Paft 8, total)                                                           +$           a
     Total of lines a through j                                                                          s   k(bV.vQ
                                                                                                                  I




Official Form 113                                    Chapter l3 Plan - Exhibit                                                           Page 1
